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              EXHIBIT A
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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

GOLDMAN VISTA HOLDINGS LLC                      §
DBA KRYSTAL CLEAN CAR WASH                      §
                                                §
        Plaintiff,                              §
                                                §
vs.                                             §     CIVIL ACTION NO. 4:22-cv-431
                                                §
OHIO SECURITY INSURANCE                         §
COMPANY,                                        §
                                                §
        Defendant.                              §

______________________________________________________________________________

               INDEX OF DOCUMENTS FILED IN STATE COURT
______________________________________________________________________________

        Pursuant to Local Rule 81.1 (a)(4)(A), Defendant Ohio Security Insurance Company files

this Index of Documents Filed in State Court, as of the date Ohio Security Insurance Company

filed its Notice of Removal, and as of the date of this Index being filed.



        No.              Document Filed                   Filing Party         Date Filed
        A-1     Civil Case and Transaction                    Court            04/07/2022
                Information
        A-2     Plaintiff’s Original Petition               Plaintiff          04/07/2022

        A-3     Citation Issued to Ohio Security              Court            04/12/2022
                Insurance Company
        A-4     Green Card (signed)                         Plaintiff          05/02/2022

        A-5     Defendant’s Answer to Plaintiff’s          Defendant           05/16/2022
                Original Petition




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May 18, 2022                                                 Respectfully Submitted,

                                                             /s/Kieran W. Leary
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                                                             ATTORNEYS FOR DEFENDANT
                                                             OHIO SECURITY INSURANCE
                                                             COMPANY



                                CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true and correct copy of the foregoing document
was electronically filed and duly served upon all parties entitled to receive notice via the Court’s
CM/ECF Court Filing System this 18th day of May, 2022.

                                                             /s/ Kieran W. Leary
                                                             Kieran W. Leary




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